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 1                                                                          The Hon. John C. Coughenour
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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8
                                          AT SEATTLE
 9
10   UNITED STATES OF AMERICA,                               NO. CR20-092-JCC
11                             Plaintiff,
                                                             DECLARATION OF DEA TASK FORCE
12                                                           OFFICER LUKE BRANDEBERRY
                         v.
                                                             IN SUPPORT OF MOTION FOR
13
                                                             PROTECTIVE ORDER RESTRAINING
     ALAN GOMEZ-MARENTES, et al.,
14                                                           CERTAIN FORFEITABLE PROPERTY
                               Defendants.
15
16
17 I, Luke Brandeberry, declare and say:
18          1.      I am a Task Force Officer (“TFO”) of the Drug Enforcement
19 Administration (“DEA”), currently assigned to the Tacoma Resident Office, located
20 within the Seattle, Washington, Field Division. As such, I am an investigative or law
21 enforcement officer of the United States, within the meaning of Section 2510(7) of Title
22 18, United States Code, and am empowered by law to conduct investigations of and to
23 make arrests for offenses enumerated in Section 2516 of Title 18, United States Code. I
24 have been a TFO since February 2019. I am a commissioned law enforcement officer of
25 the Kent Police Department. I have a total of 12 years' experience as a police officer.
26 During my time as a police officer, I have worked uniformed patrol, as well as plain
27 clothes investigations. As a detective with the Kent Police Department Special
28 Investigations Unit and a TFO with the DEA, I have participated in hundreds of

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 1 investigations that involved drug-related offenses. These cases involved the use of
 2 undercover agents and confidential sources to investigate the trafficking of
 3 methamphetamine, heroin, cocaine, ecstasy, firearms, and various abused prescription
 4 drugs. In many of these cases, I acted as the case agent, confidential source handler,
 5 and/or undercover purchaser.
 6          2.      I am a graduate of McDaniel College, and hold a bachelor's degree in
 7 Sociology with emphasis in Criminal Justice. In 2007, I completed a six-month entry-
 8 level police academy in Montgomery County, Maryland. Since then, I have received over
 9 300 hours of instruction specific to controlled substance and financial investigations.
10          3.      I am responsible for investigations involving specified unlawful activities,
11 to include the distribution of methamphetamine, heroin, and cocaine in the Western
12 District of Washington. I am also responsible for enforcing federal narcotics laws and
13 related statutes in the Western District of Washington. I received training on the proper
14 investigative techniques for these violations, including the use of confidential sources,
15 undercover agents/officers, the identification of drug trafficking organizations and
16 identifying the movement of narcotics and narcotic proceeds to and from Western
17 Washington. I have actively participated in investigations of criminal activity, including
18 but not limited to crimes against persons, crimes against property, and narcotics-related
19 crimes. During these investigations, I have also participated in the execution of search
20 warrants and the seizure of evidence indicating the commission of criminal violations. As
21 a law enforcement officer, I have testified under oath, attested to applications in support
22 of search and arrest warrants, and obtained electronic monitoring orders. I have also
23 assisted with several Title III (i.e., wiretap) investigations during my time as a DEA TFO.
24 During those wiretap investigations, I have worked in the wire room where I have gained
25 experience with minimization and evidence gathering from this type of investigation.
26          4.      I have obtained the facts set forth in this declaration through my personal
27 participation in the investigation described below; from oral and written reports of other
28 law enforcement officers; from witnesses and informants cooperating with law

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 1 enforcement; and from records, documents and other evidence obtained during this
 2 investigation. I have obtained and read official reports prepared by law enforcement
 3 officers participating in this investigation and in other investigations.
 4          5.      I make this declaration in support of a motion for entry of a protective order
 5 that would allow the United States to maintain custody of, or otherwise restrain, $1,500
 6 in United States currency seized from Defendant Ruth Gomez-Marentes’s residence in
 7 Kent, Washington (“the 100th Ave. SE Residence”), on July 28, 2020, (the “Subject
 8 Currency”) pending resolution of this criminal case.
 9          6.      On July 28, 2020, law enforcement executed a search warrant (the
10 “Warrant”)—MJ20-458 (5) in the U.S. District Court for the Western District of
11 Washington—at the 100th Ave. SE Residence. Surveillance and mail cover returns
12 established that Defendant Gomez-Marentes was residing at that location for a period of
13 time before execution of the Warrant. The Court issued the Warrant on the grounds that
14 there was probable cause to believe that the 100th Ave. SE Residence, and others
15 identified in the underlying investigation, contained proceeds and/or facilitating property
16 of drug trafficking and conspiracy to distribute drugs, in violation of 21 U.S.C.
17 §§ 841(a)(1), (b)(1)(A)-(C), and 846, among other offenses.
18          7.      During the search, law enforcement located the Subject Currency in the
19 bedroom of Defendant Ruth Gomez-Marentes, as confirmed by third-party resident
20 “R.M.G.” Law enforcement aggregated the Subject Currency with other currency also
21 located in the bedroom. The aggregated currency—which was found in envelopes, shoe
22 boxes, and a purse—totaled $9,245.
23          8.      Defendant Ruth Gomez-Marentes was not present at the 100th Ave. SE
24 Residence during the search. Accordingly, law enforcement briefly interviewed R.M.G.,
25 who estimated that there was approximately $2,000 in currency located in the bedroom.
26 R.M.G. further stated that some of the money was from flooring work, and some of the
27 money was for rent. Law enforcement asked R.M.G. how much of the money belonged to
28 Defendant Ruth Gomez-Marentes, and R.M.G. estimated $1,400 in response. Law

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 1 enforcement seized all $9,245 as suspected drug proceeds and informed R.M.G. it was
 2 doing so.
 3          9.      At the time of the seizure, Defendant Ruth Gomez-Marentes did not appear
 4 to have any legitimate income. In an interview with law enforcement on July 28, 2020,
 5 the defendant admitted that her brother, Co-Defendant Alan Gomez-Marentes, had a
 6 debit card linked to her Wells Fargo bank account. The defendant further admitted that
 7 her brother would frequently make cash deposits to her account; that she believed such
 8 deposits comprised proceeds from the distribution of controlled substances; and that all
 9 cash deposits made to her account were conducted by her brother. Over a thirteen-month
10 period, approximately $72,000 in funds passed through Defendant Ruth Gomez-
11 Marentes’ account. Of those funds, approximately $52,210 were in the form of cash
12 deposits—all of which the defendant admitted represented drug trafficking proceeds. The
13 remaining deposits did not follow any discernable pattern, and law enforcement could not
14 identify any regular employment deposits.
15          10.     Defendant Ruth Gomez-Marentes was actively involved in the drug
16 trafficking organization (“DTO”) under investigation in this criminal case. She has
17 participated in both the trafficking and distribution of controlled substances, as well as
18 the laundering of proceeds. For example, law enforcement intercepted multiple
19 conversations between Defendant Ruth Gomez-Marentes and her brother, Co-Defendant
20 Alan Gomez-Marentes, between October 25 and 27, 2019, which indicated the DTO
21 brought a new shipment of liquid methamphetamine into Western Washington concealed
22 within candles. Intercepted communications further indicated that Defendant Ruth
23 Gomez-Marentes physically drove the shipment to Washington from California. Other
24 intercepted calls between Defendants Alan Gomez-Marentes and Ruth Gomez-Marentes
25 appeared to involve discussions of the nuances of money laundering. For example, during
26 an intercepted call on October 28, 2019, Defendant Ruth Gomez-Marentes explained to
27 her brother that she had moved $30,000 from Texas to Washington by using her
28 grandfather to make the deposit.

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